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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------X
 In re                                                          :   Chapter 11
                                                                :
 MOTORS LIQUIDATION COMPANY, et al.,                            :   Case No.: 09-50026 (MG)
                 f/k/a General Motors Corp., et al.,            :
                                                                :
                                     Debtors.                   :   (Jointly Administered)
 ---------------------------------------------------------------x

             ORDER TO SHOW CAUSE REGARDING CERTAIN ISSUES
          ARISING FROM LAWSUITS WITH CLAIMS ASSERTED AGAINST
         GENERAL MOTORS LLC (“NEW GM”) THAT INVOLVE VEHICLES
        MANUFACTURED BY GENERAL MOTORS CORPORATION (“OLD GM”)


     ANY PERSON/ENTITY THAT HAS AN OBJECTION (“OBJECTION”) TO THE
     PROCEDURES SET FORTH HEREIN MUST FILE AN OBJECTION IN
     WRITING, WITH SPECIFICITY, WITH THE COURT AND SERVE THE
     OBJECTION ON THE NOTICE PARTIES SET FORTH ON EXHIBIT “A”
     HERETO (“NOTICE PARTIES”), WITHIN TWENTY (20) DAYS OF THE DATE
     OF THIS ORDER TO SHOW CAUSE.

     THE COURT WILL DECIDE WHETHER A HEARING IS REQUIRED WITH
     RESPECT TO ANY OBJECTION TIMELY FILED AND SERVED, AND IF ONE
     IS REQUIRED, IT WILL NOTIFY THE OBJECTOR(S) AND THE NOTICE
     PARTIES OF THE HEARING DATE.

     UNLESS THE COURT RULES OTHERWISE WITH RESPECT TO ANY
     TIMELY FILED AND SERVED OBJECTION, THE TERMS OF THIS ORDER
     TO SHOW CAUSE AND THE RULINGS MADE BY THE COURT WITH
     RESPECT TO THE 2016 THRESHOLD ISSUES SET FORTH HEREIN WILL BE
     BINDING ON THE NOTICE PARTIES AND ALL PERSONS/ENTITIES
     (INCLUDING WITHOUT LIMITATION PLAINTIFFS) RECEIVING NOTICE
     OF THIS ORDER TO SHOW CAUSE VIA FIRST CLASS MAIL.



         Upon the Court’s Order Setting Case Management Conference for 11:30 a.m., November

 16, 2016, entered on October 18, 2016 (ECF Doc. # 13775); and upon the Status Report Pursuant

 to Order Setting Case Management Conference (ECF Doc. # 13775), dated November 10, 2016

 (ECF Doc. # 13786); and upon the record of the Case Management Conference held by the Court
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 on November 16, 2016 (“November 16 Conference”); and the Court having issued directives from

 the bench at the November 16 Conference which are set forth in this Order.

 NOW, THEREFORE, IT IS HEREBY

          ORDERED that, in accordance with the procedures set forth herein, the following issues

 shall be addressed (collectively, the “2016 Threshold Issues”) by the Court:

          1.       In the context of (a) the April 2015 Decision/June 2015 Judgment, and (b) the
                   November 2015 Decision/December 2015 Judgment, are Ignition Switch
                   Plaintiffs 1 only those plaintiffs that are asserting claims against New GM based on
                   an “Ignition Switch” in a “Subject Vehicle,” and all other plaintiffs are Non-
                   Ignition Switch Plaintiffs? If that is not correct, what did the Bankruptcy Court
                   mean when it used the terms Ignition Switch Plaintiffs and Non-Ignition Switch
                   Plaintiffs in (a) the April 2015 Decision/June 2015 Judgment, and (b) the November
                   2015 Decision/December 2015 Judgment?

          2.       Are Non-Ignition Switch Plaintiffs able to assert Independent Claims against New
                   GM based solely on New GM’s conduct because (a) the Opinion permits such
                   claims to be asserted, and/or (b) the Sale Order cannot bar Post-Closing Accident
                   Plaintiffs in non-Subject Vehicles from asserting such claims, and/or (c) the Post-
                   Closing Accident Plaintiffs in non-Subject Vehicles are not bound by the November
                   2015 Decision/December 2015 Judgment? or

                   Are Non-Ignition Switch Plaintiffs barred from asserting Independent Claims
                   against New GM either because (a) other than those plaintiffs represented by Mr.
                   Peller in the Elliott, Sesay and Bledsoe cases that appealed the April 2015
                   Decision/June 2015 Judgment, they did not appeal the April 2015 Decision/June
                   2015 Judgment to the Second Circuit, and therefore the Opinion does not apply to
                   them, and/or (b) they did not appeal the November 2015 Decision/December 2015
                   Judgment and/or the Opinion did not affect the rulings in the November 2015
                   Decision/December 2015 Judgment?
                   If Non-Ignition Switch Plaintiffs are able to assert Independent Claims against New
                   GM either in light of the Opinion and/or issues related to subject matter jurisdiction
                   or due process: (i) are such alleged Independent Claims really disguised Assumed
                   Liabilities, or successor liability claims dressed up to look like something else (i.e.,
                   Retained Liabilities) and, therefore, cannot be asserted against New GM, and/or



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           Terms used herein and not otherwise defined shall have meanings ascribed to them in the Glossary attached
 hereto as Exhibit “B.” Parties rights are reserved to contend that the definitions for the terms contained in the Glossary
 are different from how such terms were defined in prior Orders of the Bankruptcy Court.
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                (ii) should all determinations with respect to alleged Independent Claims be left to
                non-bankruptcy judge(s)?
        3.      Is the Opinion’s holding that claims held by Used Car Purchasers are not covered
                by the Sale Order because they had no contact or relationship with Old GM limited
                to (a) only those parties that appealed the April 2015 Decision/June 2015 Judgment
                to the Second Circuit, and/or (b) Independent Claims asserted by Used Car
                Purchasers based solely on New GM conduct?

        4.      Are Post-Closing Accident Plaintiffs bound by the Sale Order or may they bring
                successor liability claims against New GM and seek punitive damages in
                connection therewith notwithstanding the Court’s rulings in the November 2015
                Decision/December 2015 Judgment?

        5.      Can the Ignition Switch Plaintiffs and/or Non-Ignition Switch Plaintiffs satisfy the
                requirements for authorization to file late proof(s) of claim against the GUC Trust
                and/or are such claims equitably moot (“Late Proof of Claim Issue”)?

        ORDERED that, unless otherwise further ordered by the Court, no discovery shall be

 authorized or take place in this Court regarding the 2016 Threshold Issues or any other issue related

 to the enforcement or applicability of the Sale Order to a claim against New GM; and it is further

        ORDERED that the following procedures shall apply with respect to the resolution of the

 2016 Threshold Issues, except the Late Proof of Claim Issue:

        1.      Opening briefs of New GM and Plaintiffs (“Plaintiffs’ Opening Brief”) shall be
                filed and served by February 27, 2017 (“Opening Brief Deadline”), and each shall
                be no longer than 75 pages. The GUC Trust/Unitholders shall be permitted but are
                not required to file an opening brief by the Opening Brief Deadline, and such brief
                shall be no longer than twenty (20) pages;

        2.      Brown Rudnick LLP and Goodwin Procter LLP are hereby designated as the
                drafters of the Plaintiffs’ Opening Brief. Brown Rudnick and Goodwin Procter
                shall circulate a draft of the Plaintiffs’ Opening Brief to all plaintiffs at least ten
                (10) business days prior to the Opening Brief Deadline to provide all plaintiffs with
                an opportunity to review the draft Plaintiffs’ Opening Brief and provide comments
                on same.

                Nothing in this Order to Show Cause is intended to nor shall it preclude any other
                plaintiff’s counsel (or pro se plaintiff), affected by the 2016 Threshold Issues, from
                taking a position in connection with any such matters; provided, however, that such
                affected other plaintiff’s counsel (or pro se plaintiff) who wishes to file a separate
                opening brief with respect to the 2016 Threshold Issues shall file a letter with the
                Court at least five (5) business days prior to the Opening Brief Deadline seeking

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              permission to do so. Such letter shall specify (a) which issue is to be covered, (b)
              the length of the brief (“Supplemental Opening Brief”) sought to be filed, and (c)
              why such issue is not otherwise covered by the Plaintiffs’ Opening Brief. The Court
              will decide the appropriate relief based on any timely filed letters, it being
              understood that the Court desires to avoid duplicative arguments and to limit the
              number of briefs on the same issue(s). Any Supplemental Opening Brief must be
              filed and served by the Opening Brief Deadline or such other date established by
              the Court.

              Notwithstanding the foregoing, the Pope Plaintiffs, the Pillars Plaintiffs, the
              Pilgrim Plaintiffs and the Elliott, Sesay and Bledsoe Plaintiffs shall be permitted to
              file a Supplemental Opening Brief to address issues not covered in the Plaintiffs’
              Opening Brief by the Opening Brief Deadline, with each such brief being limited
              to fifteen (15) pages.

       3.     Reply briefs by New GM (“New GM’s Reply Brief”) and Plaintiffs (“Plaintiffs’
              Reply Brief”) shall be filed and served by April 7, 2017 (“Reply Brief Deadline”).
              New GM’s Reply Brief and Plaintiffs’ Reply Brief shall be no longer than 50 pages,
              provided, however, (i) New GM may also have an additional twenty (20) pages to
              respond to the Supplemental Opening Briefs, and (ii) Brown Rudnick
              LLP/Goodwin Procter LLP may also have an additional ten (10) pages to respond
              to the Supplemental Opening Briefs.

              Brown Rudnick LLP and Goodwin Procter LLP are hereby designated as the
              drafters of the Plaintiffs’ Reply Brief. Brown Rudnick and Goodwin Procter shall
              circulate a draft of the Plaintiffs’ Reply Brief to all plaintiffs at least five (5)
              business days prior to the Reply Brief Deadline to provide all plaintiffs with an
              opportunity to review the draft Plaintiffs’ Reply Brief and provide comments on
              same.

              Nothing in this Order to Show Cause is intended to nor shall it preclude any other
              plaintiff’s counsel (or pro se plaintiff) affected by the 2016 Threshold Issues from
              filing a reply brief, provided, however, that any such affected other plaintiff’s
              counsel (or pro se plaintiff) who wishes to file a separate reply brief shall file a
              letter with the Court at least three (3) business days prior to the Reply Brief
              Deadline seeking permission to do so. Such letter shall specify (a) which issue is
              to be covered, (b) the length of the reply brief (“Supplemental Reply Brief”) sought
              to be filed, and (c) why such issue is not otherwise covered by the Plaintiffs’ Reply
              Brief. The Court will decide the appropriate relief based on any timely filed letters.
              Any Supplemental Reply Brief must be filed and served by the Reply Brief
              Deadline or such other date established by the Court.

              Nothing in this Order to Show Cause is intended to nor shall it preclude the GUC
              Trust/Unitholders from filing a reply brief, provided, however, that the GUC
              Trust/Unitholders shall file a letter with the Court at least three (3) business days
              prior to the Reply Brief Deadline seeking permission to do so. Such letter shall
              specify (a) which issue is to be covered, and (b) the length of the reply brief sought
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               to be filed. The Court will decide the appropriate relief based on any timely filed
               letter. Any reply brief by the GUC Trust/Unitholders must be filed and served by
               the Reply Brief Deadline or such other date established by the Court.

        4.     The Court has scheduled oral argument for the 2016 Threshold Issues for April 20,
               2017 at 9:00 AM.

        ORDERED that the following procedures shall apply to the Late Proof of Claim Issue:

        1.     Brown Rudnick LLP and Goodwin Procter LLP (on behalf of their respective
               clients) shall file motions (collectively, the “Late Claim Motions”) seeking
               authority to file late proof(s) of claim by no later than December 22, 2016. The
               Late Claim Motions shall include draft proofs of claim. The Late Claim Motions
               shall only address the authority to file late proof(s) of claim, and shall not address
               other issues, including without limitation issues relating to (i) whether a class proof
               of claim can be filed, (ii) class certification, (iii) discovery, or (iv) the merits of any
               late proof(s) of claim. If other plaintiffs wish to join in a Late Claim Motion, they
               shall file a joinder (not to exceed two pages) with the Court by January 6, 2017.
               Any plaintiff filing a joinder need not file a proof of claim until further order of the
               Court.

        2.     The Court shall hold a status conference (“Late Claim Motions Status Conference”)
               with respect to the Late Claim Motions on January 12, 2017 at 9:00 AM to address
               any issues arising from the Late Claim Motions, including without limitation (i)
               whether discovery is necessary with respect to the Late Claim Motions, (ii) if
               discovery is necessary, the appropriate parameters of such discovery, and (iii) an
               appropriate briefing schedule for the Late Claim Motions, including deadlines for
               objections and replies, provided, however, that while the briefing and adjudication
               of the Late Claim Motions filed by Brown Rudnick LLP and/or Goodwin Procter
               LLP on behalf of Ignition Switch Plaintiffs is intended to go forward, the relief
               sought by Non-Ignition Switch Plaintiffs shall be stayed pending the Court’s
               resolution of the other 2016 Threshold Issues and no briefing with respect to the
               Late Claim Motions filed on behalf of Non-Ignition Switch Plaintiffs shall take
               place pending such stay, provided, further, that such stay shall not impact any
               discovery authorized by the Bankruptcy or District Court relating to the claims of
               the Non-Ignition Switch Plaintiffs.

        3.     Between the time of the filing of the Late Claim Motions and the Late Claim
               Motions Status Conference, the proponents of the Late Claim Motions, New GM,
               the GUC Trust and the Unitholders shall meet and confer in an effort to
               consensually resolve as many issues as possible that are raised in the Late Claim
               Motions;

        ORDERED that within five (5) business days of the entry of this Order to Show Cause,

 New GM shall serve by first class mail a copy of this Order to Show Cause on the Notice Parties

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 and any other plaintiffs (or their representatives) in any lawsuit where New GM is a defendant and

 the vehicle at issue in such lawsuit was manufactured by Old GM; and it is further

          ORDERED that the Court shall retain exclusive jurisdiction to interpret/enforce this

 Order.

 IT IS SO ORDERED.
 Dated: December 13, 2016
        New York, New York

                                              _____/s/ Martin Glenn_______
                                                     MARTIN GLENN
                                              United States Bankruptcy Judge




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                                          EXHIBIT “A”

                                       NOTICE PARTIES

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  Plaintiffs and certain Non-Ignition Switch            Plaintiffs in the Bankruptcy Court
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  Post-Closing Accident Plaintiffs




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                                                    Designated Counsel for Certain Pre-Sale
                                                    Accident Plaintiffs and Post-Closing Accident
                                                    Plaintiffs



 Parties to the Motion to Enforce filed by New GM on June 24, 2016 (ECF Doc. # 13655]
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 Parties Subject to the Pilgrim Motion to Enforce
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                                                  EXHIBIT “B”

                                           GLOSSARY OF TERMS

     363 Sale                       The sale of assets of Old GM to New GM pursuant to Section 363
                                    of the Bankruptcy Code, which was approved by the Bankruptcy
                                    Court on July 5, 2009 and closed on July 10, 2009.

     April 2015 Decision            In re Motors Liquidation Co., 529 B.R. 510 (Bankr. S.D.N.Y 2015).

     Assumed Liabilities            Certain specifically-identified liabilities listed in Section 2.3(a) of
                                    the Sale Agreement that New GM agreed to assume in connection
                                    with the 363 Sale.

     Bankruptcy Code                Refers to the United States Bankruptcy Code.

                                    Statutory Citation: 11 U.S.C. §§ 101, et seq.

     Bankruptcy Court or the        United States Bankruptcy Court for the Southern District of New
     Court                          York.

     December 2015                  Judgment entered by the Bankruptcy Court on December 4, 2015.
     Judgment                       [ECF No. 13563]. 2

     GUC Trust                      Motors Liquidation Company General Unsecured Creditors Trust.

     Ignition Switch                An ignition switch designed and/or sold by Old GM that gave rise
                                    to NHTSA Recall No. 14v047 which are in the Subject Vehicles.

     Ignition Switch Plaintiff      Plaintiffs (either asserting economic loss claims, or claims based on
                                    personal injury or wrongful death that arose from accidents that
                                    occurred either prior to or after the closing of the 363 Sale) whose
                                    claims are based on or arise from the Ignition Switch in a Subject
                                    Vehicle.

     Independent Claims             “[A] claim or cause of action asserted against New GM that is based
                                    solely on New GM’s own independent post-Closing acts or conduct.
                                    Independent Claims do not include (a) Assumed Liabilities, or (b)
                                    Retained Liabilities, which are any Liabilities that Old GM had prior
                                    to the closing of the 363 Sale that are not Assumed Liabilities.”
                                    December 2015 Judgment, at 2 n.3.

     June 2015 Judgment             Judgment entered by the Bankruptcy Court on June 1, 2015. [ECF
                                    No. 13177]


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       All references herein to the Electronic Case Filing (“ECF”) docket relate to In re Motors Liquidation Company,
       et al., Case No. 09-50026 (MG) (Bankr. S.D.N.Y.).
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  New GM                    General Motors LLC

  Non-Ignition Switch       All plaintiffs (whether asserting economic loss claims, or personal
  Plaintiffs                injury and/or wrongful death claims based on accidents that
                            occurred prior to or after the closing of the 363 Sale) other than
                            Ignition Switch Plaintiffs.

  November 2015             In re Motors Liquidation Co., 541 B.R. 104 (Bankr. S.D.N.Y. 2015)
  Decision

  Old GM                    Motors Liquidation Company, formerly known as General Motors
                            Corporation, that filed a bankruptcy petition in the Bankruptcy
                            Court on June 1, 2009

  Opinion                   Elliott et al. v. General Motors LLC (In re Motors Liquidation Co.),
                            829 F.3d 135 (2d Cir. 2016).

  Post-Closing Accident     Plaintiffs asserting personal injury or wrongful death claims based
  Plaintiffs                on or arising from an accident involving an Old GM vehicle that
                            occurred after the closing of the 363 Sale.

  Sale Agreement            Amended and Restated Master Sale and Purchase Agreement By
                            and Among General Motors Corporation, Saturn LLC, Saturn
                            Distribution Corporation and Chevrolet-Saturn of Harlem, Inc., as
                            Sellers and NGMCO, Inc., as Purchaser (as amended) [ECF No.
                            2968-2].

  Sale Order                Order (i) Authorizing Sale of Assets Pursuant to Amended and
                            Restated Master Sale and Purchase Agreement with NGMCO, Inc.,
                            a U.S. Treasury-Sponsored Purchaser; (ii) Authorizing Assumption
                            and Assignment of Certain Executory Contracts and Unexpired
                            Leases in Connection with the Sale; and (iii) Granting Related
                            Relief, entered by the Bankruptcy Court on July 5, 2009 [ECF No.
                            2968].

  Second Circuit            United States Court of Appeals for the Second Circuit.

  Subject Vehicle           (A) 2005-2007 Chevrolet Cobalt and Pontiac GS, 2003-2007 Saturn
                            Ion, 2006-2007 Chevrolet HHR, 2005-2006 Pontiac Pursuit
                            (Canada), 2006-2007 Pontiac Solstice and 2007 Saturn Sky
                            vehicles; and (B) 2008-2010 Pontiac Solstice and G5; 2008-2010
                            Saturn Sky; 2008-2010 Chevrolet Cobalt; and 2008-2011 Chevrolet
                            HHR vehicles.

  Unitholders               Participating holders of GUC Trust units.



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  Used Car Purchasers      Plaintiffs who have commenced lawsuits against New GM
                           concerning vehicles manufactured by Old GM that were purchased
                           used by plaintiffs from third parties after the closing of the 363 Sale.
                           For the avoidance of doubt, Used Car Purchasers do not include
                           plaintiffs that purchased used Old GM vehicles as certified pre-
                           owned vehicles from authorized New GM dealers.




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